


  PER CURIAM.
 

  Petitioner is granted a belated appeal of the December 19, 2008, judgment and sentence issued in Escambia County Circuit Court case numbers 2007-CF-3861-A and 2007-CF-3909-A. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. RApp. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
 

  PETITION GRANTED.
 

  WOLF, PADOVANO, and THOMAS, JJ., concur.
 
